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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                      Case No. 06-20519

GHASSAN SLEWA,                                          Hon. AVERN COHN
AMAR SLIWO, and
BASSIL YOUSIF,

     Defendants.
___________________________________/


                       MEMORANDUM AND ORDER
                              DENYING
           DEFENDANTS’ MOTIONS FOR JUDGMENT OF ACQUITTAL
                 AS TO AMAR SLIWO AND BASSIL YOUSIF
                                AND
                             GRANTING
     DEFENDANT GHASSAN SLEWA’S MOTION FOR JUDGMENT OF ACQUITTAL

                                              I.

       This is a criminal case. On June 10, 2008, after a two (2) day jury trial, defendants

were each found guilty of conspiring to possess with intent to distribute and to distribute

marijuana, 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B)(vi), and possession with intent to

distribute marijuana, 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vi). The jury found more than

ten (10) kilograms were involved in the offenses.

       Now before the Court are motions for judgment of acquittal on the ground that the

verdict was based on insufficient evidence.

       The motions as to Amar Sliwo and Bassil Yousif are DENIED. The motion as to

Ghassan Slewa is GRANTED.
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                                             II.

      As put by the government in the Government’s Answer and Brief In Opposition to

Defendants’ Slewa, Sliwo And Yousif’s Motion For Judgment of Acquittal, in arguing for a

judgment of acquittal each defendant

             . . . has attempted to isolate his conduct and take it out of the
             context of the entire case. Reviewing the case in this manner
             is contrary to the standards set forth by the Supreme Court. In
             [Wright] v. West, 505 U.S. 277 (1992), the Court reiterated the
             standard set out in Jackson v. Virginia, 443 U.S. 307, 319
             (1979) that “a claim that evidence is insufficient to support a
             conviction as a matter of due process depends on ‘whether,
             after viewing the evidence in the light most favorable to the
             prosecution, any rational trier of fact could have found the
             essential elements of the crime beyond a reasonable doubt’”
             and further stated that:

                    In Jackson, we emphasized repeatedly the deference
                    owed to the trier of fact and, correspondingly, the
                    sharply limited nature of constitutional sufficiency
                    review. We said that “all of the evidence is to be
                    considered in the light most favorable to the
                    prosecution,” 443 U.S. at 319, 99 S.Ct. at 2789
                    (emphasis in original); that the prosecution need not
                    affirmatively “rule out every hypothesis except that of
                    guilt,” id., at 326, 99 S.Ct. at 2792; and that a reviewing
                    court “faced with a record of historical facts that
                    supports conflicting inferences must presume – even it
                    [sic] does not affirmatively appear in the record – that
                    the trier of fact resolved any such conflicts in favor of
                    the prosecution, and must defer to that resolution,” ibid.

             505 U.S. at 284, 29[6]–97.

                     Thus, this court must look at all of the facts presented at
             trial and not at each defendant in isolation from the others.




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                                              III.

       Testifying at trial were two (2) City of Sterling Heights police officers and one

Michigan State Police trooper. The police officers testified to what they observed. The

State trooper testified to a traffic stop.

       The exhibits at trial were photographs of the van in which the marijuana was being

transported, and of the marijuana.

                                              IV.

                                              A.

       A brief narrative of the evidence follows:

                •      On February 25, 2006, Sterling Heights police officers
                       were surveilling the Café Moca in Sterling Heights.
                       (Trial Tr. vol. 1, 30–31, 73, June 9, 2008.) One officer
                       observed five or six men in a discussion. (Tr. 31.) The
                       group included brothers Ghassan Slewa and Amar
                       Sliwo. (Tr. 31–32.) After the group dispersed, one of
                       the men parked a van across the street south of
                       Fourteen Mile at Ryan’s Palace. (Tr. 31–32, 74.)

                •      The next day Sliwo drove Slewa to the van in a pickup
                       truck and then Slewa drove the van to Hazel Park Race
                       Track followed by Sliwo driving the pickup. (Tr. 33–34,
                       74–75.) Slewa parked the van and entered the
                       clubhouse area. (Tr. 34, 75.) He left a short time later
                       in the pickup driven by Sliwo. (Tr. 34–35, 75.)

                •      Within a few minutes, Jamal Odeesh1 and Bassil Yousif
                       came out of the track and left in the van, with Odeesh
                       driving. (Tr. 35, 75–76.)

                •      Odeesh drove in the van with Yousif as a passenger to
                       the Red Apple party store in Highland Park, pulled into
                       the back alley, and went in the back delivery bay. (Tr.
                       35–36, 76.) While they were inside Sliwo rode around


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           Odeesh was indicted along with Slewa, Sliwo, and Yousif. Odeesh pled guilty.

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                 the market as a passenger in an Impala apparently as
                 a look-out. (Tr. 36, 52.) The driver of the Impala was
                 unidentified. (Tr. 53.)

            •    Odeesh and Yousif returned to the race track in the van,
                 with Odeesh driving. (Tr. 37, 77.) After they entered
                 the track, a police officer looked through the van’s rear
                 compartment window and saw that the back of the van
                 was empty. (Tr. 37–38, 77.)

            •    Odeesh and Yousif left the race track in the van again,
                 with Odeesh driving, accompanied by Sliwo who was
                 driving the pickup. (Tr. 38, 77–78.) They all went to a
                 parking lot at the corner of Oakman and Ford Road in
                 Dearborn, where they met someone who was driving a
                 Grand Prix. (Tr. 38, 78.) Yousif got out of the van and
                 spoke with the driver of the Grand Prix. (Tr. 78.)

            •    The Grand Prix led the van driven by Odeesh with
                 Yousif as a passenger to Liberty Truck Yard on
                 Wyoming Street in Dearborn. (Tr. 39, 79.) Sliwo,
                 driving the pickup, followed the van. (Tr. 39.) The
                 Grand Prix and the van entered the yard and Sliwo
                 waited outside the yard in the pickup. (Tr. 39, 78–79.)

            •    A short time later, Odeesh and Yousif left the yard in the
                 van followed by the Grand Prix, and then Sliwo jumped
                 in, driving the pickup behind the other two vehicles. (Tr.
                 39, 79.) The police officers observed that the van was
                 now weighed down, and big boxes and packages were
                 visible through the window. (Tr. 39, 79.)

            •    Based on their observations, the police officers
                 requested that a state trooper conduct a traffic stop.
                 (Tr. 40, 80.) The trooper, who was in plain clothes,
                 called in a uniformed trooper to effect the stop. (Tr.
                 90–91.) The uniformed trooper stopped the van driven
                 by Odeesh, with Yousif as a passenger, on Dequindre
                 near Nine Mile. (Tr. 40, 91.) As the plain-clothes
                 trooper approached the stopped van from the front he
                 smelled marijuana. (Tr. 92.) A search of the van
                 revealed 908 pounds or 413.92 kilograms of marijuana
                 in approximately 40 packages. (Tr. 94.) Odeesh and
                 Yousif were arrested at the scene. (Tr. 42–43, 90.)


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                                          B.

      As to the individual defendants, the following is a description of their respective

involvements:

            Ghassan Slewa

            -      was observed at the gathering at the café

            -      rode in the pickup to the van the following day, with
                   Sliwo driving

            -      drove the van to the Hazel Park Race Track and
                   entered the clubhouse

            -      exited the clubhouse and left in the pickup, with Sliwo
                   driving

            Amar Sliwo

            -      was observed at the gathering at the café

            -      drove the pickup to the van the following day

            -      drove the pickup to the Hazel Park Race Track

            -      left the race track driving the pickup with Slewa as a
                   passenger

            -      was subsequently seen riding around the party store as a
                   passenger in an Impala, apparently as a look-out, with an
                   unidentified driver

            -      was subsequently seen driving the pickup on Ford Road
                   in Dearborn

            -      driving the pickup, followed the Grand Prix and the van
                   from Ford Road to the truck yard

            -      waited outside the truck yard in the pickup while the Grand Prix
                   and the van were inside

            -      driving the pickup, followed the van and the Grand Prix
                   after they left the truck yard

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            Bassil Yousif

            -      entered the van as a passenger at the Hazel Park Race
                   Track

            -      rode in the van as a passenger to the party store

            -      went into the party store

            -      went from the party store to the Hazel Park Race Track
                   as a passenger in the van

            -      left the race track and drove to Oakman and Ford Road
                   as a passenger in the van

            -      exited the van and talked to someone in the Grand Prix

            -      rode in the van as a passenger into the truck yard

            -      left the truck yard as a passenger in the van

            -      was in the van as a passenger when it was stopped by
                   the state trooper


                                            V.

      The jury was instructed as follows:

                                            A.

                                            1.

            A “conspiracy” is an agreement between two or more persons
            to join together to accomplish some unlawful purpose. It is a
            kind of “partnership in crime” in which each member becomes
            the agent of every other member.

            For you to find the defendant guilty of this crime, you must be
            convinced that the government has proved each of the
            following beyond a reasonable doubt:

            First: that two or more persons, directly or indirectly, reached
            an agreement to to [sic] possess with intent to distribute
            distribute [sic] and to distribute marijuana;

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            Second: that the defendant knew of the unlawful purpose of the
            agreement

            Third: that the defendant joined in the agreement willfully, that
            is, with the intent to further its unlawful purpose.

            If you find these three elements to be proven beyond a
            reasonable doubt then you shall enter a guilty verdict on the
            appropriate line of the verdict form.

                                           2.

            (1)     With regard to the first element – a criminal agreement
            – the government must prove that two or more persons
            conspired, or agreed, to cooperate with each other to commit
            the crime of possession with intent to distribute and to
            distribute marijuana

            (2)    This does not require proof of any formal written or
            spoken agreement, or that everyone involved agreed on all the
            details. But proof that people simply met together from time to
            time and talked about common interests, or engaged in similar
            conduct, is not enough. You can consider these things in
            deciding whether the government has proved a criminal
            agreement. But without more they are not enough.

            (3)    What the government must prove is that there was a
            mutual understanding, either spoken or unspoken, between
            two or more people, to cooperate with each other to commit the
            crime of possession with intent to distribute and to distribute
            marijuana. This is essential.

            (4)    An agreement can be proved indirectly, by facts and
            circumstances which lead to a conclusion that an agreement
            existed. But it is up to the government to convince you that
            such facts and circumstances existed in this particular case.

            (5)   One more point about the agreement. The indictment
            accuses the defendant of conspiring to commit two federal
            crimes. The government does not have to prove that the
            defendants agreed to commit these crimes.           But the
            government must prove an agreement to commit at least one
            of them for you to return a guilty verdict on the conspiracy
            charge.

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                                           3.

            (1)    If you are convinced that there was a criminal
            agreement, then you must decide whether the government has
            proved that the defendant knowingly and voluntarily joined that
            agreement. To convict the defendant, the government must
            prove that he knew the conspiracy’s main purpose and that he
            voluntarily joined it intending to help advance or achieve its
            goals.

            (2)     This does not require proof that the defendant knew
            everything about a conspiracy, or all the other members, or
            that he was a member from the very beginning. Nor does it
            require proof that a defendant played a major role in the
            conspiracy, or that his connection to it was substantial. A slight
            role or connection may be enough.

            (3)    But proof that the defendant simply knew about a
            conspiracy, or was present at times, or associated with
            members of the group, is not enough, even if he approved of
            what was happening or did not object to it. Similarly, just
            because the defendant may have done something that
            happened to help a conspiracy does not necessarily make him
            a conspirator. You can consider these things in deciding
            whether the government has provided that the defendant
            joined a conspiracy. But without more they are not enough.

            (4)     What the government must prove is that the defendant
            knew the conspiracy’s main purpose, and that he voluntarily
            joined it intending to help advance or achieve its goals. This is
            essential.

            (5)    A defendant’s knowledge can be proved indirectly by
            facts and circumstances which lead to a conclusion that he
            knew the conspiracy’s main purpose. But it is up to the
            government to convince you that such facts and circumstances
            existed in this particular case.

                                           4.

            Once you have found the conspiracy to exist and a defendant
            to have knowingly participated in it, the extent of the
            participation has no bearing on his guilt of [sic] innocence. The
            guilt of a conspirator is not measured by the extent or the
            duration of his participation. Even if he participated in the

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            conspiracy to a degree more limited than that of his co-
            conspirators, he is equally culpable so long as he was in fact
            a conspirator.

                                          B.

                                           1.

            Title 21, United States Code, Section 841(a)(1), makes it a
            crime for anyone knowingly or intentionally to possess a
            controlled substance with intent to distribute it.

            The elements of this crime are:

            First: that the defendant knowingly possessed a controlled
            substance;

            Second: that the substance was in fact marijuana;

            Third: that the defendant possessed the substance with the
            intent to distribute it; and

            To “possess with intent to distribute” simply means to possess
            with intent to deliver or transfer possession of a controlled
            substance to another person, with or without any financial
            interest in the transaction.

                                           2.

            For you to find a defendant guilty of possession with intent to
            distribute marijuana as charged in Count Two, it is not
            necessary for you to find that he personally committed the
            crime. You may also find him guilty if he intentionally helped
            someone else to commit the crime. A person who does this is
            called an aider and abettor.

            But for you to find a defendant guilty of possession with intent
            to distribute marijuana as an aider and abettor, you must be
            convinced that the government has proved each and every one
            of the following elements beyond a reasonable doubt:

            First, that the crime of possession with intent to distribute
            marijuana was committed.

            Second, that the defendant helped to commit the crime.

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             And third, that the defendant intended to help commit the
             crime.

             Proof that the defendant may have known about the crime,
             even if he was there when it was committed, is not enough for
             you to find him guilty. You can consider this in deciding
             whether the government has proved that he was an aider and
             abettor, but without more it is not enough.

             What the government must prove is that the defendant did
             something to help the crime with the intent that the crime be
             committed.

             If you are convinced that the government has proved all of
             these elements, say so by returning a guilty verdict on this
             charge. If you have a reasonable doubt about any one of
             these elements, then you cannot find the defendant guilty of
             possession with intent to distribute marijuana as an aider and
             abettor.
                                            VI.

                                           A.

      The jury, following the instructions and considering the evidence as described

above, could find beyond a reasonable doubt:

      -      it was more than coincidence that Sliwo and Yousif acted in concert

      -      the activities of Sliwo and Yousif were planned and purposeful and

             they were engaged in a common mission to pick up a load of

             marijuana at the truck yard

      -      given the quantity of marijuana found in the van it was their intention

             to sell it for a profit

                                           B.

      Clearly the jury verdict as to Sliwo and Yousif was not based on speculation and

conjecture, and clearly neither of these defendants was a person simply present at the


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scene of a crime.

       Between them, Sliwo and Yousif cite four cases that are particularly relevant but

nevertheless contrast with the facts here. In United States v. Morrison, WL 581914 (6th

Cir. Feb. 22, 2007), the defendant backed someone else’s car, in which heat sealed-

packages containing cocaine weighing 1.5 kilograms were concealed in the gas tank, from

his driveway into his garage but the government presented no evidence that he knew of the

existence of cocaine in the tank. During a raid of a crack house in United States v. Pearce,

912 F.2d 159 (6th Cir. 1990), the defendants were found inside near small weights of

cocaine concealed in a floor drain and in a bag. In United States v. Wright, WL 465164

(6th Cir. Nov. 10, 1993), the defendant house-sat over Thanksgiving weekend for a friend

whose house was raided four months later, at which time over one thousand pounds of

marijuana were found in the basement. The defendant in United States v. Craig, 522 F.2d

29 (6th Cir. 1975), drove a co-defendant to an apartment where the latter carried a closed

box containing drugs inside.

       Here the contraband is approximately forty packaged bales of marijuana totaling

over nine hundred pounds. The bales filled the van’s cargo space directly behind Yousif’s

head and weighed the vehicle down. As the Wright court noted, “[t]he smell of marijuana

is certainly relevant evidence, and courts have pointed to the smell as evidence that the

presence of marijuana was obvious.” WL 465164, at *4. Yousif was a passenger in the

van before and after it was loaded with marijuana and when it was stopped. Yousif got out

of the van to talk with the driver of the Grand Prix, who then led the van to the truck yard

where the marijuana was. Yousif was in the truck yard while the marijuana was being

loaded into the van.

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       And wherever the van went, Sliwo went—before, while, and after the marijuana was

loaded, until just before the van was pulled over. Sliwo drove the pickup, accompanied the

van from the race track to the Red Apple, accompanied the van back to the race track,

accompanied the van to Ford Road in Dearborn, and then accompanied the van to the

truck yard. At the Red Apple, Sliwo rode around in a car as a look-out. At the parking lot

on Ford Road, Sliwo drove the pickup back and forth as a look-out. At the truck yard, Sliwo

waited outside as a look-out while the van was loaded with the marijuana. When the van

went into the truck yard, its cargo area was empty. When the van came out of the truck

yard, it was observably loaded down with large packages. Once again, Sliwo followed.

       The evidence at trial was sufficient for the jury to make reasonable inferences that

both Sliwo and Yousif were guilty of the crimes charged.

                                            C.

       On the other hand, while the evidence may have been sufficient for the jury to make

a reasonable speculation that Slewa was guilty, the evidence was insufficient to make a

permissible inference of his guilt.

              There is no bright line test to determine when facts amount to only a
      reasonable speculation and not to sufficient evidence. However, where the
      evidence taken in the light most favorable to the prosecution creates only a
      reasonable speculation that a defendant was present at the crime, there is
      insufficient evidence to satisfy the Jackson standard.

Newman v. Metrish, 543 F.3d 793, 797–98 (6th Cir. 2008).

       In oral argument, the government pointed to the “strong dissent” in Newman. But

the facts on which the dissent is based contrast sharply with the facts here. The Newman

defendant owned one of the murder weapons, had a connection to the murderer’s gym

bag, had a connection to the second murder weapon, knew the victim, had a motive, and

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gave an alibi that suggested guilt. Id. at 798–99.

         The evidence against Slewa consists solely of the following: (1) Slewa was observed

at a gathering with four or five other men, and nothing was heard of their conversation;

(2) Slewa rode in the pickup driven by Sliwo to the van; (3) Slewa drove the van, empty,

to the Hazel Park Race Track; and (4) Slewa left the race track in the pickup driven by

Sliwo.

         As to (1), the meeting at which nothing was overheard, a jury instruction was given

that directly addressed this piece of evidence: “[P]roof that people simply met together from

time to time and talked about common interests, or engaged in similar conduct, is not

enough.” Here, there was no evidence whatsoever of the topic of discussion; there was

only the fact of the meeting. While the jury could certainly consider this piece of evidence,

it alone was not enough to convict Slewa of knowledge of, intent to form, or agreement to

a conspiracy beyond a reasonable doubt. Nor was it enough to convict Slewa of aiding and

abetting because it did not prove intent beyond a reasonable doubt. As the jury was

instructed, “What the government must prove is that the defendant did something to help

the crime with the intent that the crime be committed.”

         As to (2) and (4), Slewa’s riding to the van with Sliwo and leaving the race track in

the pickup with Sliwo, a jury instruction was given that directly addressed these two pieces

of evidence: “[P]roof that the defendant . . . was present at times, or associated with

members of the group, is not enough, even if he approved of what was happening or did

not object to it.” All (2) and (4) show are Slewa’s association with his brother Sliwo. These

pieces of evidence alone or together were not enough to convict Slewa.

         As to (3), Slewa’s driving of the empty van to the race track, two jury instructions

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were given that directly address this piece of evidence: “[J]ust because the defendant may

have done something that happened to help a conspiracy does not necessarily make him

a conspirator” and “[F]or you to find a defendant guilty of possession with intent to distribute

marijuana as an aider and abettor, you must be convinced that the government has proved

[intent to help commit the crime] beyond a reasonable doubt.”

       In the brief time that Slewa was driving, the van was empty and his destination was

the race track. Moreover, when the van left the race track, it was still empty and Slewa was

not driving; Odeesh was driving. Further, when Odeesh drove the van away from the race

track with Yousif as a passenger, they did not go directly to Dearborn. They went to the

party store in Highland Park, returned to the race track, and then drove to Dearborn. The

fact that Slewa drove the empty van from Ryan’s Palace to the race track was not enough

alone to convict him or conspiracy or of aiding and abetting.

       Taken together, all four pieces of evidence were still not enough to convict Slewa

of conspiracy or of aiding and abetting. Meeting with a group of men, riding in a pickup

truck with a brother who was shown at trial to be a conspirator and an aider and abettor,

and driving an empty van to drop it off at a location from which other men drove it several

places before picking up the marijuana: these simply do not add up to a showing of

knowledge or intent. Even taking all of the evidence against all of the defendants together




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in the light most favorable to the prosecution, the Court finds that the government failed to

prove beyond a reasonable doubt that Slewa possessed the intent required for conspiracy

and aiding and abetting.

       SO ORDERED.



                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: December 16, 2008


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, December 16, 2008, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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